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                Amended Report on Updating Voter Registration Records

                   with Data from Online Motor Vehicle Transactions



                  Stringer, et al v. Pablos, No. No. 5:16-cv-00257-OLG
                  United States Court for the Western District of Texas




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Eitan D. Hersh
Assistant Professor
Department of Political Science
Yale University
New Haven, CT

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                                        EXHIBIT A
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I.       Statement of Inquiry

      1. I have been asked to assess the capacity of the state of Texas to update voter

         registration records based on information that Texans provide to the Department of

         Public Safety (DPS) through an online portal when they renew their drivers’ licenses

         or submit a change of address. When Texans perform these tasks in person at a motor

         vehicle office, DPS transmits the information to the Secretary of State (SOS) to

         update voter records. However, when the same tasks are performed online, the voter’s

         new information is not supplied to the SOS. The question in why. It is plausible that

         there are technical, logistical, political, and legal reasons that Texas does not update

         its files in this way. As a scholar who studies voter registration systems, I have been

         asked to review depositions from state officials and offer an assessment of the

         logistical challenges that may explain Texas’s policy decision in this matter.



II.      Background and Qualifications

      2. I am an assistant professor of political science and a resident fellow of the Institution

         for Social and Policy Studies at Yale University in New Haven, Connecticut. I joined

         the faculty at Yale in 2011. I received my PhD in government from Harvard

         University in 2011.

      3. The expertise I bring to bear on this case is specifically my familiarity with voter

         registration systems and my prior work in linking records of drivers licenses to voter

         registration databases.




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4. My scholarly research focuses on the topic of U.S. elections, specifically on voter

   behavior, election administration, and political campaigns. My methodological focus

   is in using individual-level data such as digitized voter registration records to study

   politics. Peer-reviewed articles such as “The Primacy of Race in the Geography of

   Income-Based Voting” (American Journal of Political Science, 2016), “Democratic

   and Republican Physicians Provide Different Care on Politicized Health Issues”

   (Proceedings of the National Academy of Sciences, 2016), “The Dynamic Election:

   Patterns of Early Voting Across Time, State, Party, and Age,” (Election Law Journal,

   2016), “Movers, Stayers, and Registration: Why Age is Correlated with Registration

   in the US” (Quarterly Journal of Political Science, 2012), and others all utilize voter

   registration records to study politics. In addition, I have written about the quality of

   records in state voter systems (“Voter Registration: The Process and Quality of

   Lists,” in The Measure of American Elections, 2014) and the use of voter registration

   databases in campaign politics (Hacking the Electorate, 2015).

5. I have been deposed as an expert witness in Judicial Watch, et al. v. King, et al., an

   NVRA case involving the state of Indiana. I have also been deposed in Fish v.

   Kobach, a voter registration case currently underway in Kansas. I have also served as

   an expert consultant in Texas v. Holder and Veasey v. Perry, two cases involving a

   voter identification law in the state of Texas.

6. I am compensated for my work at a rate of $200 per hour.

7. A copy of my current CV is attached as Exhibit A to this Report.

8. A list of the materials I reviewed is attached as Exhibit B to this Report.




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           9. A list of my non-academic published writing in addition to the publications listed in

              my CV that I’ve published in the previous 10 years is attached as Exhibit C to this

              Report.



    III.      Policy Landscape

           10. With the widespread adoption of the Internet, governments are increasingly moving

              services online that had previously been available only in person or by mail. For

              instance, according to the National Conference of State Legislatures, all but twelve

              states already have online voter registration or are in the process of implementing

              such a policy. In eleven of the 38 states with online registration, the policy was

              adopted without any legislation, but simply as a technological upgrade to an existing

              government function. 1

           11. The trend to online services is, of course, not unique to voter registration. For

              instance, in complying with the Truth in Mileage Act, a federal statute that requires

              the collection of a signature on an odometer disclosure form, the state of Texas

              petitioned the federal government to substitute the signature requirement and allow

              for an online transaction without a signature. The state asked the federal government

              to allow individuals to authenticate their identity by providing personal information.

              The state “assert[ed] that its proposal provides a level of security equivalent to that of




1
  “Online Voter Registration,” National Conference of State Legislatures,” January 31, 2017. Accessed
March 27, 2017. http://www.ncsl.org/research/elections-and-campaigns/electronic-or-online-voter-
registration.aspx


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           an existing disclosure on secure paper titles and that on-line identity authentication

           acts in lieu of an actual signature on the title.” 2

       12. Citizens are also increasingly interacting online with state agencies such as the

           Departments of Motor Vehicles (DMV) and assistance agencies. When states shift to

           online transactions, they may choose to authenticate an individual’s identity by asking

           the person to report information like their driver’s license number and part of their

           social security as an alternative to signatures. For example, the state of Texas allows

           this alternative form of authentication when residents conduct certain transactions on

           Texas.gov, like renewing licenses online through the Department of Public Safety. 3

           Erin Hutchins, general manager and director of portal operations for Texas NIC,

           explained the online authentication system used for DPS transactions, whereby a user

           enters in personal information, and then “Texas.gov sends a real-time authentication

           and eligibility request to DPS and DPS, essentially, sends back a real-time yes or

           no.” 4

       13. In other settings, Texas.gov authenticates online users not through a real-time

           process, but through regularly-updated extract files containing personal data that state

           agencies share with NIC, the Texas.gov vendor. For example, the Department of State

           Health Services uses this Texas Online Authentication System (TOAS) to allow users

           to authenticate and request their vital records (Hutchins deposition p. 26:7-28:9).


2
  See U.S. Department of Transportation, National Highway Traffic Safety Administration, 49 CFR Part
580, Docket No. NHTSA 2009 0174 Notice 2. Federal Register, Volume 75, No., 77, Thursday April 22,
2010. https://www.gpo.gov/fdsys/pkg/FR-2010-04-22/pdf/2010-8320.pdf.
3
  See Section 2054.271 of Texas Government Code. See also “TexasOnline 2.0 Customer Agreement
between the State of Texas, acting by and through the Texas Department of Information Resources and
Texs NICUSA LLC, http://publishingext.dir.texas.gov/portal/internal/contracts-and-
services/Contracts/DIR-SDD-1075-Attachment-R-1-Form-of-Customer-Agreement.pdf
4
  See Deposition of Erin Hutchins, March 31, 2017, Page 31: 14-16.


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           Both the TOAS process and the DPS real-time process enable Texans to perform

           online functions by authenticating their identity by filling in a series of personal data

           fields in lieu of a signature.

       14. According to the National Voter Registration Act (NVRA), state agencies like DMVs

           are required to incorporate voter registration into their services. When these agencies

           move to online transactions, they may fail to comply with the NVRA by not

           incorporating voter registration seamlessly into their online systems. 5 As the

           bipartisan Presidential Commission on Election Administration noted in its 2014

           report, agencies that are required under the NVRA to offer opportunities for citizens

           to register to vote violate the NVRA when they offer services online but “voter

           registration is left out of the online portals and website designs of these agencies.” 6

           However, as I describe, some states have found straightforward solutions to comply

           with the law online.

       15. The technology clearly exists for state motor vehicle authorities that allow online

           transactions (e.g. renewals and changes of address) to share the user’s updated

           information with the election administration in an automated fashion. For instance,

           when a resident of California uses the state’s online system to submit an address

           change, a message states, “You may authorize DMV to notify the Secretary of State

           of a voter change of address if you are already registered to vote.” 7


5
  The NVRA references State motor vehicle authorities. While some states administer driver licenses
through DMVs, Texas administers its driver licenses through the Department of Public Safety.
6
  See Robert F. Bauer and Benjamin L. Ginsberg, co-chairs, “The American Voting Experience: Report
and Recommendations of the Presidential Commission on Election Administration,” January 2014.
https://law.stanford.edu/publications/the-american-voting-experience-report-and-recommendations-of-
the-presidential-commission-on-election-administration/
7
  State of California, Department of Motor Vehicles, Change of Address System. Accessed March 27,
2017. https://www.dmv.ca.gov/portal/dmv/detail/online/coa/welcome


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       16. Even states that, like Texas, do not offer online voter registration, comply with

           NVRA requirements in online transactions. In Michigan, for example, the state

           website explains:

                   When you move, you must change the address on your driver's license as soon as

                   possible. A change of address may be submitted at a Secretary of State office, online

                   through ExpressSOS or by mail using the change-of-address form. By changing the

                   address on your driver's license, all driver, vehicle and voter registration files in your

                   Secretary of State Record will be updated with your new address.8

           In North Carolina, another state that, like Texas, does not offer voter registration

           online, a similar process is used and explained to citizens. When a citizen of North

           Carolina navigates to the online DMV system for license renewal, a message states,

           “You can use this service to submit voter registration information, which DMV will

           send to state elections officials.” 9



               A. Texas System of Online Transactions

       17. The Texas DPS’s system for online transactions is different from these examples

           above. But before describing how Texas processes online transactions, it is useful to

           examine how Texas incorporates voter registration into its in-person motor vehicle

           transactions. When an individual changes their address or renews their license in

           person, they fill out a physical form and give the form to a customer service

           representative who inputs the information into the computer system. One question on

           the form asks, “If you are a US citizen, would you like to register to vote? If

8
  State of Michigan, Address Change on a Registration, Accessed March 27, 2017,
http://www.michigan.gov/sos/0,4670,7-127-1585_1587_1590-25230--,00.html
9
  North Carolina Division of Motor Vehicles, “Login to Renew Your Driver License,” Accessed March
27, 2017 https://edmv.ncdot.gov/DriverLicenseRenewal


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   registered, would you like to update your voter information?” If the person responds

   affirmatively, DPS electronically transmits the individual’s personal information to

   the Secretary of State’s office. No further action is required by the registrant.

18. The Department of Public Safety shares information with SOS in two files. In the

   daily update file, DPS informs the SOS of any new record or any change to existing

   records. In the daily voter registration file, DPS informs the SOS of information of

   new registrations or updated address information for changed addresses. In other

   words, for in-person transactions, DPS informs the SOS when personal data in its file

   has been added or changed (daily update file) and also informs DPS of new voter

   registrations or changes in personal data such as an updated address (voter

   registration file).

19. Now consider Texas’s online procedure. When citizens of Texas renew their license

   online or process a change of address, they are presented with the option to select Yes

   or No in response to a prompt stating, “I want to register to vote.” But they are told

   that “selecting Yes does not register you to vote.” Instead of DPS sharing the voter’s

   information with the election administration, as other states do and as Texas does for

   in-person and mail transactions, the Texas online portal directs the user to an external

   website where he or she can download an unpopulated registration application and

   mail it to the election office themselves.

20. Texas’s online process seems incongruent with the language of Section 5 of the

   NVRA entitled “Simultaneous Application for Voter Registration and Application for

   Motor Vehicle Driver’s License,” which requires that each driver’s license




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            application serves as an application for voter registration. 10 The statute explains that

            “the voter registration application portion of an application for a State motor vehicle

            license may not require any information that duplicates information required in the

            driver’s license portion of the form.” The statute further states that “Any change of

            address form submitted in accordance with State law for purposes of a State motor

            vehicle driver’s license shall serve as a notification of change of address for voter

            registration.” Texas does not appear to comply with the statute when customers

            complete transactions online. Moreover, the process has generated confusion among

            Texans, with hundreds or thousands of inquiries or complaints recorded with DPS. 11

        21. Even though the Texas DPS does not share information with the SOS about a voter’s

            new address, the DPS does inform election officials on a nightly basis that voters are

            no longer at their old address (if they registered a change of address). By obtaining

            daily information that an old address may no longer be valid for a voter, election

            officials may be able to gain insight into obsolete records on the voter rolls, which in

            turn they may purge. By not similarly obtaining information through a daily

            transaction about new addresses, election officials are less likely to learn about a

            current registrant’s new address.

        22. Importantly, DPS prefers eligible license holders to use the online portal rather than

            come into a DPS branch office. As DPS representative Sheri Gipson notes, use of the

            online system “reduces traffic within the office and reduces overall wait times.” 12

            DPS promotes the use of its online system through online advertisements. Use of

10
   52 U.S.C. § 20504
11
   See Deposition of Sheri Gipson, January 31, 2017, pp. 290-293. See also Exhibit C, page 7, of Case
5:16-cv-00257-OLG, Document 1-4, Filed March 14, 2016.
12
   See 30(b)(6) deposition of Sheri Gipson, March 7, 2017, p. 96:20-25. See also Exhibit Y to 30(b)(6)
deposition of Sheri Gipson.


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                online transactions is also likely to increase. According to Ms. Gipson, there are two

                to three times as many transactions now than just a few years ago. Currently, only

                about 30% of eligible license-holders are utilizing the online system. It is reasonable

                to expect, particularly with DPS’s deliberate advertising campaign, that use of the

                online system will increase. 13

       IV.      Reasons Why DPS does not Transmit Certain Data from Online Transactions to

                SOS

                A. Technical challenges do not prevent DPS from transmitting data to SOS

             23. There are a number of reasons why interactions between the online DPS system and

                SOS might, theoretically, differ from the offline system. One could imagine a number

                of reasons a state might argue that it is burdensome to transfer voter registration

                information to SOS in the same manner online as it does in person. For example, it is

                conceivable that a state could exclusively rely on a paper-record transfer for

                interactions between a state motor vehicle authority and an election office that would

                not be easy to adapt to an online record. As another example, it is conceivable that

                personal identifiers necessary to link DPS records to SOS records are not the same in

                online and offline systems or that the systems are incompatible. If there were

                technical obstacles like these, there would likely be an added financial cost associated

                with transferring records from an online system. Thus, a state may argue that costs

                present a challenge.

             24. However, in reviewing depositions by John Crawford, manager of license services

                application for DPS and by Sheri Gipson, Deputy Assistant Director of Headquarters

                Operations at DPS, it is apparent that in the case of Texas there are not obvious
13
     See Deposition of Sheri Gipson, January 31, 2017, pp. 288:12-289:23.


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   technical challenges (except for one as described below) that prevent DPS from

   sharing registration updates with SOS. All that is required is for DPS to obtain

   information from Texas.gov’s vendor, NIC and to send it to SOS. Customers already

   submit a response on Texas.gov indicating whether they would like to register to

   vote. NIC could then transmit data to DPS of individuals who request the updates to

   their voter record. Once DPS has this information, it could transmit updated

   registration information to SOS just as it processes the information when it comes via

   in-person transactions.

25. Ms. Gipson, in her 30(b)(6) deposition, confirmed that DPS could inform NIC that

   DPS would like to receive the information about whether an individual requested to

   update their voter registration information (p.207:1-18). In his deposition, Mr.

   Crawford confirmed that DPS could store the information (p. 92:14-19). In her

   deposition, Erin Hutchins, of Texas NIC, also confirmed that there is no technical

   obstacle to NIC transmitting the information to DPS (p.120:21-121:3). It is already

   clear that DPS has the capability of transmitting updates electronically on a daily

   basis to election officials. Thus, the basis of the decision not to send registration

   updates from online transactions is a policy decision based on an interpretation of

   statute rather a logistical decision based on technical capacity. Because the technical

   capacity is already in place, it does not appear the cost would be significant. In

   principle, online transmission of registration updates should be a cost savings for

   election officials. Consider that under the current system, many individuals who

   change their address online through the Texas.gov portal must separately update their

   voter registration record through an application that must be keyed into a computer




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              system by an election official. The costs savings of automation is the most important

              reason why governments and industry have moved to automation for so many

              functions. Automation would almost surely save time and money for Texas state and

              county officials in this context.

                  B. Electronic Transmission of Signatures is Feasible in Texas

          26. SOS claims one plausible technical hurdle with respect to being able to accept new or

              amended voter registration records that originate from an online portal. Mr. Keith

              Ingram, Texas Director of Elections, argued that a voter registration application was

              required to be signed. 14 In the online system currently used by the state, no digital

              signature is obtained from a user. Instead, users authenticate their identity by entering

              in personal information such as part of their social security number and identifiers

              listed on their drivers’ licenses.

          27. While the state argues that it cannot comply with the signature requirement in its

              online system, the Secretary of State does process voter registration applications

              without obtaining signature information in other settings, such as the case of change-

              of-address applications submitted to DPS via mail. When an individual submits

              change of address information by mail, they sign the change-of-address form.

              However, when the form is processed by DPS, DPS transmits to SOS a previously-

              obtained digital signature that has been stored on file. Because all license holders

              have performed an in-person transaction (e.g. to obtain their original license), DPS

              has signatures for all license holders on file. When an individual changes their

              address by mail, DPS transmits the old electronic signature on file. This process has

              been described in depositions by DPS’s John Crawford and Sheri Gipson and has also
14
     Deposition of Keith Ingram, March 22, 2017, p. 102:15-24.


                                                                                                       12
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   been acknowledged by Betsy Schonhoff, the voter registration manager for the

   Secretary of State. In fact, Mr. Crawford notes that the Secretary of State’s office

   would not necessarily know if a signature transmitted from DPS was signed

   concurrently when the registration information was updated (as in an in-person

   transaction) or signed in years prior (as in a by-mail transaction) (p.102:24-103:6).

28. Texas’ differential treatment of mail transactions and online transactions is not the

   result of a technical hurdle. Texas clearly admits previously-recorded digital

   signatures as valid signatures for voter registration applications that come through

   mail change-of-address forms to DPS, but Texas does not admit previously-recorded

   digital signatures as valid signatures for online transactions. According to depositions,

   the state is technically able to a.) determine whether a user who is submitting an

   online renewal or change-of-address process would like to update registration

   information, b.) transmit the updates to SOS as part of its daily registration file, and

   c.) pass on to SOS a previously recorded digital signature that it has on file. Again,

   the state’s decision not to perform this function for online transactions appears to be

   the result of a policy decision rather than a technical limitation.

29. Moreover, the policy decision in this context is different from the state’s position on

   online authentication for state purposes, as in the case of the policy to use TOAS

   authentication for non-DPS transactions (see again Texas Government Code

   2054.271) and to use a real-time authentication for DPS transactions. As Judge Garcia

   notes in his March 31, 2017 order, “defendants deemed these [online authentication]

   submissions sufficient to update drivers’ license information – transactions that state

   law also requires to be verified by an applicant’s signature (p. 15).” The state’s




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   policy decision is also inconsistent with the state’s position on online authentication

   for federal purposes, as in the case of Texas’s compliance with the Truth in Mileage

   Act as reported above.

30. Signatures can be used as a form of authentication, to ensure that an individual is not

   presenting themselves as a different person. However, authentication does not seem

   to be the purpose of signatures in DPS. For instance, when a new digital signature is

   captured in an in-person transaction, DPS does not appear to use signature

   verification or matching software to determine if the captured signature matches a

   previous signature. Additionally, DPS processes online transactions without

   signatures. As mentioned above, the Secretary of State also processes transactions

   without concurrent signatures as well, so long as it has a signature on file.

31. SOS receives from DPS an electronic signature for all registrants including those who

   originally registered in person at a DPS office. County election officials can then

   access the information to generate a voter registration form using the information on

   file, including the electronic signature (Ingram depo p. 47:16-48:12). The county can

   use this signature if it is deemed necessary to compare with a voter's signature

   obtained at the polls. As Judge Garcia notes in his order, “It is unclear why an

   additional signature provided with a change of address form is necessary to enable

   comparison between the signature provided at the time of initial registration and the

   signature provided at the polls. (p. 16).” Indeed, Texas SOS does not make use of an

   additional signature in the case of mail forms or in-county online forms.

32. Conclusion




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       33. Based on my reading of the testimony cited above, it does not seem that there are

           substantial technical (and therefore financial) barriers to DPS transmitting registration

           information to the SOS from online transactions. In fact, automation in this setting, as

           in other domains, would likely generate cost savings. DPS could comply with the

           NVRA when customers transact online by simply instructing Texas.gov to collect the

           answer to the voter registration question and then transmitting such information along

           with a previously captured digital signature to SOS. In short, Texas could choose to

           treat the online response to the voter registration question in the same manner it treats

           the in-person response. Such a transmission from DPS to SOS would be consistent

           with how DPS currently transmits information from mail-in change of address forms.

           Furthermore, DPS already transmits digital signatures, even when a customer

           registers to vote during a driver license transaction at a DPS office. The reason that

           DPS does not transmit information from online transactions does not appear to be

           primarily about signatures, costs, or about other technical hurdles, but rather it is

           based on the established policy for how DPS, in conjunction with SOS, interprets the

           Texas election statute and the National Voter Registration Act. In my view, Texas’

           policy for not incorporating voter registration updates into its online DPS transactions

           is inconsistent with the language of the NVRA.


I reserve the right to amend my report as discovery is not yet complete.




DATED this 15th Day of April, 2017




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                                   Eitan Hersh




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